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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        December 02, 2021
                                                                         Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        ROBERT E. CARTER,       § CIVIL ACTION NO.
                     Plaintiff, § 4:21-cv-00704
                                §
                                §
            vs.                 § JUDGE CHARLES ESKRIDGE
                                §
                                §
        LAW OFFICES OF          §
        REGENT &                §
        ASSOCIATES, ANH         §
        REGENT, KELLY           §
        ALBERT, LYNDEE LE, §
                  Defendants. §

                       ORDER ADOPTING
                MEMORANDUM AND RECOMMENDATION

           Pro se Plaintiff Robert E. Carter brings claims against
       Defendant Law Offices of Regent & Associates and
       individual Defendants Anh Regent, Kelly Albert, and
       Lyndee Le for violations of the Fair Debt Collection
       Practices Act and the Texas Debt Collection Act. Dkt 1.
           The case was referred to Magistrate Judge Sam
       Sheldon pursuant to 28 USC § 636(b)(1)(A) and (B) and
       Rule 72 of the Federal Rules of Civil Procedure. Dkt 6.
           Carter brought a motion for default judgment against
       all Defendants on June 7, 2021. Dkt 10. Judge Sheldon
       issued a Memorandum and Recommendation finding that
       Carter “has not obtained waivers of service or properly
       served any of the Defendants.” Dkt 13 at 3. As such, he
       further found that “Defendants are not in default for failing
       to respond,” and he recommended that the motion be
       denied without prejudice. Id at 3, 5. Judge Sheldon also
       found that Carter “attempted to comply with the service
       rules immediately upon filing this lawsuit.” Id at 4. And so
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       he recommended that Carter be given an additional thirty
       days to serve Defendants or obtain waivers of service.
       Dkt 13 at 5.
           Carter didn’t file any objection. When no party objects
       to the conclusions of a magistrate judge, the reviewing
       court need only satisfy itself that no clear error appears on
       the face of the record. See Guillory v PPG Industries Inc,
       434 F3d 303, 308 (5th Cir 2005), citing Douglass v United
       Services Automobile Association, 79 F3d 1415, 1420
       (5th Cir 1996); see also FRCP 72(b) Advisory Committee
       Note (1983).
           The Court has reviewed the pleadings, the record, the
       applicable law, and the recommendation. No clear error
       appears.
           The Memorandum and Recommendation of the
       Magistrate Judge is ADOPTED as the Memorandum and
       Order of this Court. Dkt 13.
           The motion by Plaintiff Robert E. Carter for default
       judgment against Defendants Law Offices of Regent &
       Associates, Anh Regent, Kelly Albert, and Lyndee Le is
       DENIED WITHOUT PREJUDICE. Dkt 10.
           Carter has an additional thirty days from the entry of
       this order to serve Defendants or obtain waivers of service.
           SO ORDERED.


           Signed on December 2, 2021, at Houston, Texas.



                                  __________________________
                                  Hon. Charles Eskridge
                                  United States District Judge




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